                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

ELIZABETH E. CROCKETT,

                        Plaintiff,

        v.                                             Civil Action No. ______________

MUTUAL OF OMAHA BANK, Alleged
Successor by Acquisition of FIRST
NATIONAL BANK OF NEVADA and its
affiliates, as Trustee for FIRST NATIONAL
BANK OF ARIZONA Pass-Through
Certificates series 2007-HY-3 Trust, M&T
BANK CORPORATION Trust; M&T
BANK CORPORATION; HSBC BANK
USA, N.A.; MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, Inc., as a
Nominee for FIRST NATIONAL BANK OF
ARIZONA

                      Defendants.


                                     NOTICE OF REMOVAL

        Defendants Mortgage Electronic Registration Systems, Inc. (“MERS”) and HSBC Bank

USA, N.A. (“HSBC”) (collectively “moving Defendants”) by their undersigned attorneys and

pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, file this Notice of Removal from the Circuit

Court of Davidson County, Tennessee to the United States District Court for the Middle District

of Tennessee, Nashville Division. In support of this Notice of Removal, moving Defendants

state as follows:

I.      FACTS AND PROCEEDINGS

        1.      On February 29, 2012, Plaintiff Elizabeth E. Crockett (“Plaintiff”) filed a

Complaint in the Circuit Court for Davidson County, Tennessee.




931939:1:NASHVILLE
       Case 3:12-cv-00337 Document 1 Filed 04/02/12 Page 1 of 4 PageID #: 1
        2.      The Complaint is based on alleged events related to property located at 2915

Woodlawn Drive, Nashville, Tennessee (the “Property”).

        3.      Both MERS and HSBC were served on March 8, 2012.

        4.      Upon information and belief, no other Defendants have been served in this matter.

Thus, pursuant to 28 U.S.C. § 1446(b)(2), their consent to remove is not required.

II.     THIS NOTICE OF REMOVAL IS TIMELY FILED

       5.       This Notice of Removal is filed within thirty (30) days of service of moving

Defendants. See 28 U.S.C. § 1446(b).

       6.       This removal is timely because it is filed “within thirty days of receiving the

document that provides the basis for removal.” Loftis v. UPS, 342 F.3d 509, 516 (6th Cir. 2003).

The thirty day period does not begin to run until formal service of the summons and complaint.

Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347 (1999).

       7.       In compliance with 28 U.S.C. § 1446(a), a copy of all “process, pleadings, and

orders” received by moving Defendants are attached hereto as Exhibit A.

III.    REMOVAL PROCEDURES

       8.       Removal of this case is proper under 28 U.S.C. § 1441(a), which provides in

pertinent part, that “any civil action brought in a State court of which the district courts of the

United States have original jurisdiction, may be removed by the defendant or the defendants, to

the district court of the United States for the district and division embracing the place where such

action is pending.” 28 U.S.C. § 1441(a).

       9.       Venue is appropriate in this Court pursuant to 28 U.S.C. § 1441(a). Moving

Defendants seek to remove this case to the Middle District of Tennessee. The Circuit Court for




931939:1:NASHVILLE                    2
       Case 3:12-cv-00337 Document 1 Filed 04/02/12 Page 2 of 4 PageID #: 2
Davidson County, Tennessee is located within this District, and cases arising from Davidson

County are properly assigned to the Nashville Division of this Court. See 28 U.S.C. § 123(b)(1).

IV.     THIS COURT HAS FEDERAL QUESTION JURISDICTION.

        10.     Removal of this case is proper under 28 U.S.C. § 1441(a), which provides, in

pertinent part, that “any civil action brought in a State court of which the district courts of the

United States have original jurisdiction, may be removed by the defendant or the defendants, to

the district court of the United States for the district and division embracing the place where such

action is pending.” 28 U.S.C. § 1441(a) (2010).

        11.     This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 as it is apparent

on the face of Plaintiff’s Complaint that this action arises under and presents a question of

federal law. See generally Compl. Plaintiff has alleged claims against Defendants for violation

of the Real Estate Settlement Procedures Act (“RESPA”) and Truth in Lending Act (“TILA”)

Compl. p. 13.

       12.      To the extent the Complaint alleges statutory, state common law or other

nonfederal claims, this Court has supplemental jurisdiction over any such claims under 28 U.S.C.

§ 1367 because those claims arise out of the same operative facts as Plaintiff’s claims under

federal law and “form part of the same case or controversy under Article III of the United States

Constitution.” 28 U.S.C. § 1367(a).

       13.      Because, at the very least, some of Plaintiff’s alleged right to relief arises under

the laws of the United States, removal of this entire cause of action is appropriate under 28

U.S.C. § 1441(a)-(c).

V.      CONCLUSION

        WHEREFORE, moving Defendants respectfully request the above-captioned action now

pending in the Circuit Court for Davidson County, be removed to the United States District


931939:1:NASHVILLE                    3
       Case 3:12-cv-00337 Document 1 Filed 04/02/12 Page 3 of 4 PageID #: 3
Court for the Middle District of Tennessee, and that said United States District Court assume

jurisdiction of this action and enter such other and further orders as may be necessary to

accomplish the requested removal and promote the ends of justice.

This the 2nd day of April, 2012.                    Respectfully submitted,



                                                    /s/ Paul Allen England
                                                    Donna L. Roberts (BPR No. 22249)
                                                    Paul Allen England (BPR No. 26288)
                                                    STITES & HARBISON, PLLC
                                                    SunTrust Plaza
                                                    401 Commerce Street, Suite 800
                                                    Nashville, TN 37219
                                                    (615) 782-2200 (phone)
                                                    (615) 742-0705 (fax)
                                                    donna.roberts@stites.com
                                                    paul.england@stites.com

                                                    Counsel for Mortgage Electronic
                                                    Registration Systems, Inc. and HSBC Bank
                                                    USA, N.A.


                               CERTIFICATE OF SERVICE

        I hereby certify that on April 2, 2012, that a true and correct copy of the foregoing was
filed electronically with the Clerk’s office by using the CM/ECF system and served
electronically and/or via first-class U.S. mail, postage prepaid, as indicated below.

Via U.S. Mail:
Elizabeth E. Crockett
2915 Woodlawn Dr.
Nashville, TN 37215

Pro Se Plaintiff



                                                    /s/ Paul Allen England
                                                    Paul Allen England


36498579.1




931939:1:NASHVILLE                     4
        Case 3:12-cv-00337 Document 1 Filed 04/02/12 Page 4 of 4 PageID #: 4
